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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 HELEN PERRY,                             )
                                          )       Case No. 7:18cv500
       Plaintiff,                         )
 v.                                       )
                                          )
 KROGER LIMITED                           )
 PARTNERSHIP,                             )
 et al.,                                  )       By:   Michael F. Urbanski
                                          )       Chief United States District Judge
       Defendants.                        )

                                         ORDER

       The parties have notified the court that, pursuant to Rule 41(a)(1)(ii) of the Federal

 Rules of Civil Procedure, this matter may be dismissed with prejudice. Accordingly, it is

 ORDERED that the above-captioned matter is hereby DISMISSED with prejudice.

       It is so ORDERED.

                                          Entered: This   Ll?--
                                                            day of November, 2019




                                          Michael F. Urbanski
                                          Chief United States District Judge
